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Ch Outlook

Dias v. Dias - Petitioner's Job Applications

From Camilla Redmond <credmond@gkmrlaw.com>
Date Wed 10/9/2024 3:59 PM

To ‘Flores Conklin, Rommy <RFloresConklin@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
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<kelly@drsfamilylaw.com>; Maria Garrett de Liévano <maria@drsfamilylaw.com>

Dear Counsel,
| confirm the prior email chain has been deleted.

Please see link below for job applications provided by Mr. Dias and a summary of his job applications
within WHO in the last couple of years. We have no objection to you adding these to your exhibit list.

E ]Job Applications
This subfolder is in the same folder that | believe you all have access to: [ |Response 1
Best,

Camilla

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